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                   Extended
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                           Extended Managing Director
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                             Extended Managing Director




                                  Extended Managing Director
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                               Extended
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                               Director
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                                        Extended
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